Case 5:17-cv-13330-JEL-APP ECF No. 31, PageID.167 Filed 05/29/18 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

RHONDA SINGH,

       Plaintiff,                                  Case No. 5:17-cv-13330
                                                   Honorable Judith E. Levy
v.                                                 Magistrate Anthony P. Patti

TRANS UNION, LLC,
EXPERIAN INFORMATION SOLUTIONS, INC.
and TRANSWORLD SYSTEMS, INC.,

     Defendants.
__________________________________________________________________

              STIPULATION AND ORDER OF DISMISSAL
     AS TO EXPERIAN INFORMATION SOLUTIONS, INC. ONLY, WITH
                          PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Rhonda Singh (“Plaintiff”) and

Defendant Experian Information Solutions, Inc. (“Experian”) hereby jointly

stipulate and agree that Plaintiff hereby dismisses, with prejudice, her claims

asserted against Experian in the above-styled action, with the parties to bear their

own attorney’s fees, costs and expenses.


/s/ Carl Schwartz                            /s/ Tamara E. Fraser
Carl Schwartz (P70335)                       Tamara E. Fraser (P51997)
Michigan Consumer Credit Lawyers             Williams, Williams, Rattner
(248) 353-2882                                & Plunkett, P.C.
carl@crlam.com                               (248) 642-0333
Attorney for Plaintiff                       tef@wwrplaw.com
                                             Attorney for Defendant Experian
                                             Information Solutions, Inc.
Case 5:17-cv-13330-JEL-APP ECF No. 31, PageID.168 Filed 05/29/18 Page 2 of 2




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
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RHONDA SINGH,

      Plaintiff,                                       Case No. 5:17-cv-13330
                                                       Honorable Judith E. Levy
v.                                                     Magistrate Anthony P. Patti

TRANS UNION, LLC,
EXPERIAN INFORMATION SOLUTIONS, INC.
and TRANSWORLD SYSTEMS, INC.,

     Defendants.
__________________________________________________________________

       ORDER OF DISMISSAL AS TO EXPERIAN INFORMATION
            SOLUTIONS, INC. ONLY, WITH PREJUDICE

      The Court having received the parties’ Stipulation, and being otherwise fully

advised in the premises,

      IT IS HEREBY ORDERED that Defendant Experian Information Solutions,

Inc., only, shall be dismissed with prejudice and without costs or attorney fees

awarded to either party.     The Court retains jurisdiction only for purposes of

enforcing the settlement in this matter. The Court retains jurisdiction only for

purposes of enforcing the settlement in this matter.


Dated: May 29, 2018                           s/Judith E. Levy
                                              JUDITH E. LEVY
                                              United States District Judge



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